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Fill in this information to identifi

 

Rte
Debtor | EARNEST MCKAY, JR,
First Name Middle Name Last Name
Debtor2 _
(Spouse, if filing} First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA
" (State)

Case number 19 — 11378

Official Form 427
Cover Sheet for Reaffirmation Agreement 12/15

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation

agreement, and file the documents within the time set under Bankruptcy Rule 4008.

Ea Explain the Repayment Terms of the Reaffirmation Agreement

 

1. Who is the creditor? Wells Fargo Bank, NLA, -
Name of the creditor

 

2. How much is the debt? On the date that the bankruptcy case is filed $178,679.82

To be paid under the reaffirmation agreement $179,082.27
$ 1,089.18 per month for 324 months (if fixed interest rate}

 

3. What is the Annual
Percentage Rate (APR)
of interest? (See

Before the bankruptcy case was filed _3.75000%

 

 

 

Schedule f; Your Incame

Expenses (Official Form line 12 of Schedule | affer payrolt deductions
106J), fil in the amounts,

6b. Monthly expenses from Hine 22cof __ $4 oF (os  6F. Monthly expenses

fo

number in brackets. number in brackets.

 

(Official Form 1061) and “Be. 4 edd
Schedule J: Your 6a, Combined monthly income from $.2 A ‘ C 68. Monthly income from all sources

Schedule J

6c, Monthly payments on all — $ a 6g. Monthly payments on ail
reaffirmed debts not listed on Tr reaffirmed debts not included in
Schedule J monthiy expenses

wa,
6d. Scheduled net monthly income | ‘ te 5, Gh. Present net monthly income
Subtract lines 6b and 6c from 6a. , . Subtract lines 6f and 6g from 6e.

If the total is less than 0, putthe If the total is fess than 0, put the

Bankruptcy Code Under the reaffirmation agreement 3.75000 % |X] Fixed rate
§ 524{k}(3}(E).) [| Adjustable rate
4, Does collateral secure C1 No
the debt? :
~ Yes, Describe the collateral. 1823 APOPKA WAY,FORT WAYNE, IN 46844
Current market value$ 2 O 2 God (According to Debtor’s Schedule A/B)
§. Does the creditor assert v_ No
"that the debt is [_] Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is
nondischargeable? nendischargeable.
6. Using information from income and expenses reported on Schedules { andJ °° Income and expenses stated on thé reaffirmation agreement

$ 2 ‘ ~G ae

~ ¢ 245?
_; ©

wet bo ke

 

 

 
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7. Are the income amounts UNo

 

 

 

 

on lines 6a and 6e C] Yes. Explain why they are different and complete line 10.
different?

8. Are the expense Lio
amounts on lines 6b LJ Yes. Explain why they are different and complete line 10.

 

and 6f different?

 

 

 

9. Is the net monthly a
income in line 6h fess Yes. A presumption of hardship arises (unless the creditor ts a creditunion).
than 0? Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.
Complete jine 18. Z
rN,
on

ma

(

 

10. Debtor's certification

about lines 7-9 1 certify that each explanation on tines 7-9 is true and correct.

if any answer on lines 7-Gis rr
Yes, the debtor must sign a

here, KL LL OO F- x.

If alk the answers on lines 7-9 Signature of Debtor 4 Signature of Dabtor 2 (Spouse Only in a Joint Case}
are No, go to line 11.

 

11. Did an attorney represent rea
the debtor in negotiating Yes. Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
the reaffirmation g
agreement?
Yes

 

 

 

ES Stan Here

Whoever fills out this form { certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the
must sign here. parties identified on this Cover Sheet for Reaffirmation Agreement.

«Lage i Kacy ilies
ones Steves) Keaweel

Printed Name

 

, Check one:

L) Debtor or Debtor's Attorney
¥ Creditor or Creditor's Attorney

 

 

 

 

™ The Creditor completed Questions 4 — 5 (but not the current market value) on this form. The Debtor(s) completed the remaining questions
on this form, By signing this form, the Creditor is only certifying: (1) that the attached agreement is a true and correct copy of the reaffirmation
agreement between the parties; and (2) the information in Questions 1 - 5 (but not the current market value), The Creditor is not certifying the
accuracy of the information supplied by the Debtor(s}.
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B2400A/B ALT (Form 2400A/B ALT) (12/85) @” Presumption of Undue Hardship
O No Presumption of Undue Hardship

(Check box as directed in Part D: Debtor’s Statement
in Support of Reaffirmation Agreement.)

 

 

 

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

 

 

FORT WAYNE
Inre EARNEST MCKAY, JR. Case No, 19- 11378
Debtor Chapter 7

REAFFIRMATION AGREEMENT
[Indicate all documents included in this filing by checking each applicable box.]

M Part A: Disclosures, Instructions, and M Part D: Debtor’s Statement in Support
Notice to Debtor (pages 1 - 5) of Reaffirmation Agreement
M Part B: Reaffirmation Agreement C] Part E: Motion for Court Approval

M Part C: Certification by Debtor’s Attorney

[Note: Complete Part E only if debtor was not represented by an attorney during

the course of negotiating this agreement. Note also: If you complete Part E, you must
prepare and file Form 2400C ALT - Order on Reaffirmation Agreement. ]

Name of Creditor: Wells Fargo Bank, N.A.

C1] {Check this box if] Creditor is a Credit Union as defined in §19(b)(1)(a)(iv) of the Federal Reserve
Act

PART A: DISCLOSURE STATEMENT, INSTRUCTIONS AND NOTICE TO DEBTOR
1, DISCLOSURE STATEMENT
Before Agreeing to Reaffirm a Debt, Review These Important Disclosures:

SUMMARY OF REAFFIRMATION AGREEMENT
This Summary is made pursuant to the requirements of the Bankruptcy Code.

AMOUNT REAFFIRMED
The amount of debt you have agreed to reaffirm: $179,082.27
The amount of debt you have agreed to reaffirm includes all fees and costs (if any) that have

accrued as of the date of this disclosure, Your credit agreement may obligate you to pay additional
amounts which may come due after the date of this disclosure, Consult your credit agreement.
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B2400A/B ALT (Form 2400A/B ALT) (12/15)

ANNUAL PERCENTAGE RATE

[The annual percentage rate can be disclosed in different ways, depending on the type of debt.}

a.

Tf the debt is an extension of “credit” under an “open end credit plan,” as those terms

are defined in § 103 of the Truth in Lending Act, such as a credit card, the creditor may disclose
the annual percentage rate shown in (i} below or, to the extent this rate is not readily available or
not applicable, the simple interest rate shown in (ii) below, or beth.

$
$

(i) The Annual Percentage Rate disclosed, or that would have been disclosed, to
the debtor in the most recent periodic statement prior to entering into the
reaffirmation agreement described in Part B below or, if no such periodic
statement was given to the debtor during the prior six months, the annual
percentage rate as it would have been so disclosed at the time of the disclosure
statement: %.

a-~ And/Or ---

(i) The simple interest rate applicable to the amount reaffirmed as of the date
this disclosure statement is given to the debtor: %, {if different
simple interest rates apply to different balances included in the amount
reaffirmed, the amount of each balance and the rate applicable to it are:

_ _.@ %;
OC
$ @ %,

b.

If the debt is an extension of credit other than under than an open end credit plan, the

creditor may disclose the annual percentage rate shown in (1) below, or, to the extent this rate is
not readily available or not applicable, the simple interest rate shown in (ii) below, or both.

(i) The Annual Percentage Rate under §128(a)(4) of the Truth in Lending Act, as
disclosed to the debtor in the most recent disclosure statement given to the debtor

‘prior to entering into the reaffirmation agreement with respect to the debt or, if no

such disclosure statement was given to the debtor, the annual percentage rate as it
would have been so disclosed:

--- And/Or --
(ii) The simple interest rate applicable to the amount reaffirmed as of the date

this disclosure statement is given to the debtor: 3.75000%.

If different simple interest rates apply to different balances included in the amount
reaffirmed, the amount of each balance and the rate applicable to it are:
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B2400A/B ALT (Form 2400A/B ALT) (12/15) 3
$l CUO;
$s MC;
$ @ %,

c, Ifthe underlying debt transaction was disclosed as a variable rate transaction on the
most recent disclosure given under the Truth in Lending Act:

The interest rate on your loan may be a variable interest rate which changes from
time to time, so that the annual percentage rate disclosed here may be higher or
lower. :

d. Ifthe reaffirmed debt is secured by a security interest or lien, which has not been
waived or determined to be void by a final order of the court, the following items or types of
items of the debtor’s goods or property remain subject to such security interest or lien in
connection with the debt or debts being reaffirmed in the reaffirmation agreement described in
Part B.

Item or Type of Item Original Purchase Price or Original Amount of Loan
Mortgage Loan

1823 APOPKA WAY $188,875.00

FORT WAYNE, IN 46814

Optional---At the election of the creditor, a repayment schedule using one or a combination of
the following may be provided:

Repayment Schedule;

Your first payment in the amount $1,089.18 is due on @8/@1/19, but the future
payment amount may be different. Consult your reaffirmation agreement or credit agreement, as

applicable.

Subsequent payments are due on the same day of each month (refer to your credit agreement for day of the month payment is due)
until maturity. Payments are subject to change based on escrow account changes. If this is an ARM loan, payments are subject to
change based on interest rate changes.

— Or —

Your payment schedule will be: (number) payments in the amount of $
each, payable (monthly, annuaily, weekly, etc.) on the (day) of each
( week, month, etc.), unless altered later by mutual agreement in writing.

— Or —

‘A reasonably specific description of the debtor’s repayment obligations to the extent known by
the creditor or creditor’s representative,

2. INSTRUCTIONS AND NOTICE TO DEBTOR
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B2400A/B ALT (Form 2400A/B ALT) (12/15) 4

Reaffirming a debt is a serious financial decision, The law requires you to take certain
steps to make sure the decision is in your best interest. If these steps are not completed, the
reaffirmation agreement is not effective, even though you have signed it,

1, Read the disclosures in this Part A carefully. Consider the decision to reaffirm
carefully. Then, if you want to reaffirm, sign the reaffirmation agreement in Part B (or you may
use a separate agreement you and your creditor agree on).

2, Complete and sign Part D and be sure you can afford to make the payments you are
agreeing to make and have received a copy of the disclosure statement and a completed and
signed reaffirmation agreement,

3. If you were represented by an attorney during the negotiation of your reaffirmation
agreement, the attorney must have signed the certification in Part C.

4, If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, you must have completed and signed Part E.

5. The original of this disclosure must be filed with the court by you or your creditor. Ifa
separate reaffirmation agreement (other than the one in Part B) has been signed, it must be
attached.

6, If the creditor is not a Credit Union and you were represented by an attorney during
the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes effective
upon filing with the court unless the reaffirmation is presumed to be an undue hardship as
explained in Part D, If the creditor is a Credit Union and you were represented by an attorney
during the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes
effective upon filing with the court.

 

7. If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, it will not be effective unless the court approves it. The court will notify you and the
creditor of the hearing on your reaffirmation agreement. You must attend this hearing in
bankruptcy court where the judge will review your reaffirmation agreement. The bankruptcy
court must approve your reaffirmation agreement as consistent with your best interests, except
that no court approval is required if your reaffirmation agreement is for a consumer debt secured
by a mortgage, deed of trust, security deed, or other lien on your real property, like your home.

 

 

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B2400A/B ALT (Form 2400A/B ALT) (12/15) 5

YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION AGREEMENT

You may rescind (cancel) your reaffirmation agreement at any time before the

bankruptcy court enters a discharge order, or before the expiration of the 60-day period that
begins on the date your reaffirmation agreement is filed with the court, whichever occurs later,
To rescind (cancel) your reaffirmation agreement, you must notify the creditor that your
reaffumation agreement is rescinded (or canceled).

Frequently Asked Questions:

What are your obligations if you reaffirm the debt? A reaffirmed debt remains your

personal legal obligation. It is not discharged in your bankruptcy case, That means that if you
default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to
take your property or your wages, Otherwise, your obligations will be determined by the
reaffirmation agreement which may have changed the terms of the original agreement. For
example, if you are reaffirming an open end credit agreement, the creditor may be permitted by
that agreement or applicable law to change the terms of that agreement in the future under
certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not
required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest.
Be sure you can afford the payments you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not
eliminate any lien on your property. A ‘‘lien’’ is often referred to as a security interest, deed of
trust, mortgage or security deed. Even if you do not reaffirm and your personal liability on the
debt is discharged, bécause of the lien your creditor may still have the right to take the property
securing the lien if you do not pay the debt or default on it. If the lien is on an item of personal
property that is exempt under your State’s law or that the trustee has abandoned, you may be
able to redeem the item rather than reaffirm the debt. To redeem, you must make a single .
payment to the creditor equal to the amount of the allowed secured claim, as agreed by the
parties or determined by the court.

NOTE: When this disclosure refers to what a creditor ‘‘may’’ do, it does not use
the word “may’’ to give the creditor specific permission. The word ‘‘may’? is

used to tell you what might occur if the law permits the creditor to take the action.
If you have questions about your reaffirming a debt or what the law requires,
consult with the attorney who helped you negotiate this agreement reaffirming a
debt. If you don’t have an attorney helping you, the judge will explain the effect

of your reaffirming a debt when the hearing on the reaffirmation agreement is
held.

 

 
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B2400A/B ALT (Form 2400A/B ALT) (12/15) . 6

PART B: REAFFIRMATION AGREEMENT.

I (we) agree to reaffirm the debts arising under the credit agreement described below.
1. Brief description of credit agreement:

Mortgage Loan dated 06/29/16 in the amount of $188,875.00.

2. Description of any changes to the credit agreement made as part of this reaffirmation agreement:

 

 

 

NONE
SIGNATURE(S):
Borrower: Accepted by creditor:
EARNEST MCKAY, JR. Wells Fargo Bank, N.A.
(Print Name) (Printed Name of Creditor)

MAC # - F2303-04N :

One Home Campus

?
a O— 2” gl Des Moines, [A 50328

(Signature) a“ (Address of Creditor)

Date: OF-s-/9 | Aton — Km ly /

Co-borrower, if also reaffirming these debts: Ss ME
Vice President Loan Documentation

 

 

 

 

(Print Name)
(Printed Name and Title of Individual Signing for
Creditor)

(Signature) Date of creditor acceptance:

Date: August 22, 2019 |

 

 
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PART C: CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY).

[To be filed only if the attorney represented the debtor during the course of negotiating
this agreement, ]

I hereby certify that (1) this agreement represents a fully informed and voluntary
agreement by the debtor; (2) this agreement does not impose an undue hardship on the debtor or
any dependent of the debtor; and (3) I have fully advised the debtor of the legal effect and
consequences of this agreement and any default under this agreement.

whcreck box, if applicable and the creditor is not a Credit Union.] A presumption of
undue hardship has been established with respect to this agreement. In my opinion, however, the
debtor is able to make the required payment.

o [ ( A be
Printed Name of Debtor’s Attorney: / | Y é
— + FT

Signature of Debtor’s Attorney: [{ ey
ai 7
Date: Gj j h} 4

 
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B2400A/B ALT (Form 2400A/B ALT) (12/15)

PART D: DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

{Read and complete sections | and 2, OR, if the creditor is a Credit Union and
the debtor is represented by an attorney, read section 3. Sign the appropriate
signature line(s) and date your signature. If you complete sections I and 2
and your income less monthly expenses does not leave enough to make the
payments under this reaffirmation agreement, check the box at the top of page
! indicating “Presumption of Undue Hardship.” Otherwise, check the box at
the top of page | indicating “No Presumption of Undue Hardship” ]

1. I believe this reaffirmation agreement will not impose an undue hardship on my
dependents or me. I can afford to make the payments on the reaffirmed debt because my
monthly income (take home pay plus any other income received) is §44y¥7% and my actual
current monthly expenses including monthly paymenjs on pos t-bankruptey debt and other
reaffirmation agreements total $.22.< “ leaving Uisia\ ‘*\to make the required payments
on this reaffirmed debt.

I understand that if my income less my monthly expenses does not leave enough to
make the payments, this reaffirmation agreement is presumed to be an undue hardship on me
and must be reviewed by the court. However, this presumption may be overcome if I ex
to the satisfaction of the court how I can afford to make the payments here:

  
 

 

 

 

(Use an additional page if needed for a full explanation.)

2. I received a copy of the Reaffirmation Disclosure Statement in Part A and a
completed and signed reaffirmation | agreement.

Signed: ~_ 4 by A he gw?

(Debtor)

  

Joint Debtor, if any)

Date: “7-4 — LF

 

 

 

 
